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Attorneys for Defendant
Live Nation Entertainment, Inc.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                                 Civil Action No. 11-07318 (CCC) (CLW)
JUICE ENTERTAINMENT, LLC,
THOMAS DORFMAN, AND
CHRIS BARRETT,

                                  Plaintiffs,       NOTICE OF MOTIONS IN LIMINE

                      vs.

LIVE NATION ENTERTAINMENT, INC.,

                                  Defendant.



TO:     Andrew Smith, Esq.
        Smith & Schwartzstein LLC
        4 Chatham Road, Suite
        Summit, NJ 07901
         Attorneys for Plaintiffs

        PLEASE TAKE NOTICE that, on April 15, 2024, or as soon thereafter as counsel may

be heard, Defendant Live Nation Entertainment, Inc. shall move before the Honorable Claire

Cecchi at the United States District Court for the District of New Jersey, Newark, New Jersey,

for an order, pursuant to the Federal Rules of Evidence and Civil Procedure, excluding certain

evidence and dismissing certain claims, as set forth in the accompanying Memorandum of Law

and proposed order.




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        PLEASE TAKE FURTHER NOTICE that in support of its motion, Defendant will rely

upon the Certification of Ian S. Marx, dated March 14, 2024, and its attached exhibits, and the

Brief submitted with the motion, as well as upon the prior Orders of the Court referenced

therein.

        PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted with

this motion.

        PLEASE TAKE FURTHER NOTICE that, pursuant to L. Civ. R. 78.1(b), Defendant

requests oral argument on this motion.

                                            GREENBERG TRAURIG, LLP

                                            By: /s/ Ian S. Marx
                                                Ian S. Marx

                                                 500 Campus Drive, Suite 400
                                                 Florham Park, New Jersey 07932
                                                 (973) 360-7900

                                                 Attorneys for Defendant

Dated: March 15, 2024




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